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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   FRANKFORT

JUDICIAL WATCH, INC., on behalf            :
of itself and certain of its members,
     425 Third Street, Ste. 800            :
     Washington, D.C. 20024
                                           :
                     Plaintiff,                Civil No. _______________
                                           :
       v.                                      PLAINTIFF’S COMPLAINT
                                           :
ALISON LUNDERGAN GRIMES,
in her official capacity as Secretary of   :
State and Chief Election Official of the
Commonwealth of Kentucky,                  :
    700 Capital Ave., Ste. 152,
    Frankfort, Kentucky 40601              :
    Franklin County
                                           :
MARY SUE HELM,
in her official capacity as Interim        :
Executive Director of the Kentucky
State Board of Elections,                  :
    140 Walnut Street
    Frankfort, Kentucky 40601              :
    Franklin County
                                          :
ALBERT B. CHANDLER, III,
in his official capacity as Member of the :
Kentucky State Board of Elections,
    140 Walnut Street                     :
    Frankfort, Kentucky 40601
    Franklin County                       :

DONALD W. BLEVINS,                        :
in his official capacity as Member of the
Kentucky State Board of Elections,        :
    140 Walnut Street
    Frankfort, Kentucky 40601             :
    Franklin County
                                          :
(Cont.)
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JOSHUA G. BRANSCUM, :
in his official capacity as Member of the
Kentucky State Board of Elections,        :
    140 Walnut Street
    Frankfort, Kentucky 40601             :
    Franklin County
                                          :
STEPHEN HUFFMAN,
in his official capacity as Member of the :
Kentucky State Board of Elections,
    140 Walnut Street                     :
    Frankfort, Kentucky 40601
    Franklin County                       :

GEORGE RUSSELL,                           :
in his official capacity as Member of the
Kentucky State Board of Elections,        :
     140 Walnut Street
     Frankfort, Kentucky 40601            :
     Franklin County
                                          :
                       and
                                          :
MICHAEL G. ADAMS,
in his official capacity as Member        :
of the Kentucky State Board of Elections,
     140 Walnut Street                    :
     Frankfort, Kentucky 40601
     Franklin County                      :

                  Defendants.       :
___________________________________

       Plaintiff Judicial Watch, Inc., by its attorneys, brings this action for declaratory and

injunctive relief and alleges as follows:

                                        INTRODUCTION

       1.      Plaintiff Judicial Watch, Inc. seeks declaratory and injunctive relief to compel the

Commonwealth of Kentucky to comply with its voter list maintenance obligations and its record

production obligations, under Section 8 of the National Voter Registration Act of 1993

(“NVRA”), 52 U.S.C. § 20507.

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                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this

action arises under the laws of the United States, and under 52 U.S.C. § 20510(b)(2), as the

action seeks injunctive and declaratory relief under the NVRA.

       3.      Venue in this Court is proper under 28 U.S.C. § 1391(b) because a substantial part

of the events or omissions giving rise to this action occurred in this district.

       4.      Venue is proper in this Division because all Defendants perform their duties in,

and thus reside in the City of Frankfort, Franklin County, Kentucky. LR 3.2(a)(1), (e).

                                              PARTIES

       5.      Plaintiff JUDICIAL WATCH, INC. (“Judicial Watch”) is a not-for-profit,

educational organization incorporated under the laws of the District of Columbia and

headquartered at 425 Third Street SW, Suite 800, Washington, D.C. 20024. Its mission is to

promote transparency, integrity, and accountability in government and fidelity to the rule of law.

As part of this mission, Judicial Watch regularly requests records from state and local

governments pursuant to federal and state laws, analyzes the responses and disseminates both its

findings and the requested records to the American public to inform it about “what the

government is up to.” Judicial Watch will sue to enforce compliance with federal and state laws

concerning the provision of records, public integrity, government accountability, and voting

rights. It has undertaken investigations and commenced other lawsuits to enforce the NVRA.

       6.      Defendant ALISON LUNDERGAN GRIMES is the Secretary of State of the

Commonwealth of Kentucky (the “Secretary”) and has served in this capacity since January 2,

2012. The Commonwealth of Kentucky has designated the Secretary as Chair of the State Board




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of Elections and as the “chief election official” for the Commonwealth. KY. REV. STAT. ANN. §

117.015(2); see 52 U.S.C. §20509.

       7.      Defendant MARY SUE HELM is the Interim Executive Director, and Defendants

ALBERT B. CHANDLER, III, DONALD W. BLEVINS, JOSHUA G. BRANSCUM,

STEPHEN HUFFMAN, GEORGE RUSSELL, and MICHAEL G. ADAMS are members of the

Kentucky State Board of Elections (“Board of Elections”). Kentucky law provides that the

Board of Elections “maintain a complete roster of all qualified registered voters within the state

by county and precinct voters” and compile “all information furnished to the board relating to the

inclusion or deletion of names from the rosters for four (4) years.” KY. REV. STAT. ANN. §

117.025(3)(a), (d).

       8.      All Defendants are sued in their official capacities only.

                                  FACTUAL BACKGROUND

       9.      The NVRA requires states to “conduct a general program that makes a reasonable

effort to remove the names of ineligible voters from the official lists of eligible voters.” 52

U.S.C. § 20507(a)(4).

Kentucky’s Excessive Registration Rates

       10.     In June of each odd-numbered year, the U.S. Election Assistance Commission

(“EAC”) is required by law to release a report regarding state voter registration practices. 52

U.S.C. § 20508(a)(3).

       11.     In June 2017, the EAC published the most recent report (“2017 EAC Report”)

that contained, inter alia, voter registration statistics based on information provided by the states.

       12.     Whenever a jurisdiction has more voter registrations than individuals old enough

to register – in other words, a registration rate exceeding 100% of adult residents – it is a strong



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indication, recognized by federal courts, that the jurisdiction is not taking the steps required by

law to remove the registrations of ineligible registrants.

       13.     Judicial Watch analyzed the data in the 2017 EAC Report and compared it to the

most recent census data to determine the registration rates of United States counties.

       14.     Kentucky leads every other state in the nation in the number of counties in which

total registration is greater than the voting-age population. Specifically, 41 Kentucky counties

have more registered voters than voting-age residents.

       15.     Judicial Watch also compared voter registrations to citizen voting-age population.

Citizen voting-age population excludes noncitizens, who are not lawfully entitled to register or

vote in federal or state elections, and so is a more meaningful way to assess a jurisdiction’s

registration rate than voting-age population alone.

       16.     Kentucky leads every other state in the nation in the number of counties in which

total registration exceeds the citizen voting-age population. Specifically, the number of voter

registrations exceeds the number of age-eligible citizens in 48 Kentucky counties, or 40% of all

Kentucky counties.

       17.     This represents a large increase in what was already one of the highest state totals

of counties with citizen-adjusted registration rates exceeding 100%. Prior to release of the 2017

EAC Report, the data showed that 30 Kentucky counties had more registered voters than citizens

over the age of 18.

       18.     The Commonwealth of Kentucky as a whole has more statewide registrations than

it has resident citizens of voting age. Kentucky is one of only three states in the nation with an

active, statewide registration rate exceeding 100%.




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       19.     Kentucky’s high registration rates indicate that it is not conducting a general

program that makes a reasonable effort to cancel the registrations of ineligible registrants.

Kentucky’s Failure to Report Inactive Registrations

       20.     Federal regulations require the states to provide various kinds of registration data

to the EAC for use in its biennial report. This data is supposed to include the “total number of

registered voters statewide, including both ‘active’ and ‘inactive’ voters if such a distinction is

made by the state,” for the last two general federal elections. 11 C.F.R. § 9428.7(b)(1), (2).

       21.     Kentucky law has established an inactive list for those voters who fail to respond

to a confirmation notice. KY. REV. STAT. ANN. § 116.112(5).

       22.     Kentucky failed to report to the EAC the number of its inactive registrations in

violation of federal regulations.

       23.     If Kentucky were conducting reasonable list maintenance, registrations routinely

would be moved to the inactive list for two general federal elections whenever registrants failed

to respond to a confirmation notice.

       24.     Kentucky’s failure to report this data suggests that it is not performing reasonable

voter list maintenance.

       25.     Inactive registrants may vote on Election Day, so inactive registrations must be

considered part of a state’s voter registration list. 52 U.S.C. § 20507(d)(2)(A).

       26.     By failing to include inactive registrations, Kentucky’s registration rates are made

to appear lower and more reasonable than they actually are. Stated differently, if Kentucky had

reported inactive voter registrations to the EAC as required by federal law, the number of

Kentucky counties with registration rates exceeding 100% would be even greater.




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        27.     On information and belief, Kentucky is not querying voters who may have

moved, placing the registrations of voters who do not respond to those queries on its inactive list,

and then cancelling such registrations after two general federal elections, in numbers that are

consistent with its obligation to conduct a general program that makes a reasonable effort to

cancel the registrations of ineligible registrants.

Kentucky’s Failure to Report Sending Any Confirmation Notices

        28.     The NVRA provides that no registration may be cancelled on the ground that a

voter has moved elsewhere unless the registrant either confirms this fact in writing or fails to

respond to an address-confirmation notice described by the statute (the “confirmation notice”).

52 U.S.C. § 20507(d)(1). The confirmation notice must incorporate a “postage prepaid and pre-

addressed return card, sent by forwardable mail,” asking the registrant to confirm his or her

residence address. Id. at (d)(2). If no response is received to this notice, a registration may be

cancelled, but only following a statutory waiting period lasting at least two general federal

elections. Id. at (d)(1)(B)(ii).

        29.     Sending confirmation notices is the primary method prescribed by federal law for

determining whether someone who may have moved still resides in an electoral jurisdiction.

        30.     Federal regulations require states to provide to the EAC for use in its biennial

report the “statewide number of confirmation notices mailed out between the past two federal

general elections and . . . responses received to these notices during the same period.” 11 C.F.R.

§ 9428.7(b)(8).

        31.     Kentucky failed to report to the EAC the number of confirmation notices it sent

during the previous two-year period in violation of federal regulations.




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       32.     On information and belief, Kentucky is not sending confirmation notices to those

who are believed to have moved at a rate that is consistent with its obligation to conduct a

general program that makes a reasonable effort to cancel the registration of ineligible registrants.

Judicial Watch’s Notice Letter and Defendants’ Responses

       33.     On April 11, 2017, Judicial Watch sent an NVRA Section 8 notice of violation

letter (the “Notice Letter,” Exhibit A), both by email and by certified mail to the address for the

Secretary. According to the U.S.P.S. tracking system, the Notice Letter was delivered on April

19, 2017 to 700 Capital Ave., Suite 152, Frankfort, Kentucky, 40601, the mailing address for the

Secretary.

       34.     The Notice Letter observed that there were more registered voters than citizens of

voting age in (at that time) 30 Kentucky counties. The Notice Letter concluded that the

Commonwealth and these counties were not conducting a reasonable list maintenance program

that complied with the NVRA.

       35.     The Notice Letter stated that “This letter serves as statutory notice that Judicial

Watch will bring a lawsuit against [the Secretary] if [the Secretary] do[es] not take specific

actions to correct these violations of Section 8 within 90 days.”

       36.     The Notice Letter asked for a written response within 45 days “informing

[Judicial Watch] of the compliance steps [the Secretary is] taking,” and described in detail the

kinds of compliance-related information being sought.

       37.     Citing Section 8(i) of the NVRA, the Notice Letter also requested “all pertinent

records concerning ‘the implementation of programs and activities conducted for the purpose of

ensuring the accuracy and currency’ of Kentucky’s official eligible voter lists during the past 2

years. Please include these records with [the Secretary’s] response to this letter.”



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         38.   The Notice Letter constitutes statutory notice, pursuant to 52 U.S.C. §

20510(b)(1), of violations of Sections 8(a)(4) and 8(i) of the NVRA.

         39.   Judicial Watch received a response dated April 25, 2017 via U.S. Mail (the

“Response Letter,” Exhibit B) from Maryellen Allen, then Executive Director of the Board of

Elections.

         40.   The Response Letter made no mention of Judicial Watch’s demand in the Notice

Letter that Defendants identify “the compliance steps [the Secretary is] taking” to remedy its

failings or to meet its obligations under Section 8(a)(4) of the NVRA, and did not address

Judicial Watch’s allegations that 30 Kentucky counties had more registered voters than citizen

voting-age population. Instead, the Response Letter only discussed Judicial Watch’s requests for

documents.

         41.   In response to Judicial Watch’s request for copies of the most recent voter

registration database, the Response Letter stated that “the [Board of Elections] objects to this

request pursuant to [KY. REV. STAT. ANN. §] 117.025(3)(h)” as Judicial Watch is not a “duly

qualified candidate[], political party committee[] or official[] thereof, or any committee that

advocates or opposes an amendment or public question,” adding that “the [Board of Elections]

denied [Judicial Watch’s] request.”

         42.   In response to the other requests for documents in the Notice Letter, the Board of

Elections indicated “they will use its best efforts to make available to [Judicial Watch] any

responsive, non-exempt public records in its care, custody or control on or before June 26,

2017.”

         43.   By letter dated June 26, 2017 (the “Second Response Letter,” Exhibit C),

Director Allen wrote to update the status of the “non-exempt” record search. The Second



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 Response Letter stated that the Board of Elections “is still in the process of preparing this

 information” and “will use its best efforts to make available to [Judicial Watch] any responsive,

 nonexempt public record on or before August 7, 2017.”

        44.     The Second Response Letter again made no mention of Judicial Watch’s request

 in the Notice Letter that Defendants identify “the compliance steps [the Secretary is] taking” to

 remedy its failings or to meet its obligations under Section 8(a)(4) of the NVRA. Once again,

 the Second Response Letter only discussed Judicial Watch’s requests for documents.

        45.     As of the date of this complaint, there have been no further communications from

 Defendants to Judicial Watch concerning either (1) compliance with the list maintenance

 provisions of the NVRA, or (2) the production of records by the Secretary or the Board of

 Elections.

 Judicial Watch’s Interest in Compliance With the NVRA

        46.     As part of its mission to promote transparency, integrity, and accountability in

 government and fidelity to the rule of law, Judicial Watch regularly requests records from state

 and local governments pursuant to Section 8(i) of the NVRA. Judicial Watch analyzes all

 responses, as well as federal, state, and local data from any available source, to determine

 whether jurisdictions are properly maintaining accurate voter rolls as required by Section 8(a)(4)

 of the NVRA. If it believes that a jurisdiction is not complying with Section 8 of the NVRA,

 Judicial Watch will sue under 52 U.S.C. § 20510(b) to enforce that statute. In pursuit of this

 particular mission, Judicial Watch recently wrote to eleven other states besides Kentucky to

 inform them of perceived violations of the NVRA and to request NVRA-related documents.

 Judicial Watch has a current NVRA lawsuit against Maryland and Montgomery County,

 Maryland, and in the recent past has sued and resolved NVRA cases against Ohio and Indiana.



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 Judicial Watch also has submitted several friend-of-the-court briefs at all levels of the federal

 court system in cases concerning enforcement of the NVRA.

         47.     Kentucky’s failure to comply with Section 8 of the NVRA has caused and will

 cause Judicial Watch to expend significant, additional resources to achieve its basic

 organizational mission.

         48.     A person becomes a member of Judicial Watch by making a financial

 contribution, in any amount, to the organization. The financial contributions of members are by

 far the single most important source of income to Judicial Watch and provide the means by

 which the organization finances its activities in support of its mission.

         49.     Judicial Watch has approximately 12,102 members in the Commonwealth of

 Kentucky. As a membership organization, Judicial Watch represents the interests of these

 members, many of whom are lawfully registered to vote and have the right to vote in Kentucky,

 including the right to vote in elections for federal office.

         50.     Judicial Watch solicits the views of its members in carrying out activities in

 support of its mission, including the views of its members in Kentucky. The views of Judicial

 Watch’s members significantly influence how Judicial Watch chooses activities to engage in to

 further its mission.

         51.     About 1,187 of Judicial Watch’s Kentucky members have an email address and

 have contributed $10 or more to Judicial Watch within the past two years. One hundred and

 thirty (130) of these members who are lawfully registered to vote in Kentucky have directly

 informed Judicial Watch that they are concerned about Kentucky’s failure to satisfy its voter list

 maintenance obligations under Section 8 of the NVRA, and wish Judicial Watch to take legal




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 action on their behalf to protect their right to vote. The views of Judicial Watch’s members were

 a substantial factor weighing in favor of the initiation of this lawsuit.

        52.     Protecting the rights of Judicial Watch members who are lawfully registered to

 vote in Kentucky is part of Judicial Watch’s mission of promoting integrity, transparency, and

 accountability in government and fidelity to the rule of law, as is ensuring compliance with the

 voter list maintenance obligations of Section 8 of the NVRA and protecting the integrity of the

 election process in general. It also is well within the scope of the reasons why members of

 Judicial Watch join the organization and continue to support its mission.

        53.     Members of Judicial Watch who are lawfully registered to vote in Kentucky not

 only have the constitutional right to vote in state elections, including elections for federal office,

 but they also have a statutory right to the safeguards and protections set forth in the NVRA.

        54.     Kentucky’s failure to comply with the NVRA inflicts a burden on the

 constitutional right to vote of those members of Judicial Watch who are lawfully registered to

 vote in the Commonwealth, by undermining their confidence in the integrity of the electoral

 process, discouraging their participation in the democratic process, and instilling in them the fear

 that their legitimate votes will be outweighed by fraudulent or ineligible ones.

        55.     Kentucky’s failure to satisfy its voter list maintenance obligations under Section 8

 of the NVRA infringes the statutory rights of those members of Judicial Watch who are lawfully

 registered to vote in Kentucky. Those individuals have a statutory right to vote in elections for

 federal office that comply with the procedures and protections required by the NVRA, including

 the voter list maintenance obligations set forth in Section 8 of the NVRA.

        56.     Absent action by Judicial Watch, it is unlikely that any individual member

 of Judicial Watch who is lawfully registered to vote in Kentucky would have the ability



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 or the resources to take legal action to protect his or her rights or redress his or her injuries with

 respect to Kentucky’s failure to satisfy its voter list maintenance obligations under Section 8 of

 the NVRA.

         57.     Judicial Watch and its Kentucky members are persons aggrieved by a violation of

 the NVRA, as set forth in 52 U.S.C. § 20510(b)(1).

                                               COUNT I

               (Violation of Section 8(a)(4) of the NVRA, 52 U.S.C. § 20507(a)(4))

         58.     Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         59.     Defendants have failed to fulfill Kentucky’s obligations under Section 8(a)(4) of

 the NVRA to conduct a general program that makes a reasonable effort to cancel the

 registrations of registrants who are ineligible to vote in Kentucky elections.

         60.     Plaintiff Judicial Watch and its members have suffered, and will continue to

 suffer, irreparable injury as a direct result of Defendants’ failure to fulfill Kentucky’s obligations

 to comply with Section 8(a)(4) of the NVRA.

         61.     Plaintiff Judicial Watch and its members have no adequate remedy at law.

                                              COUNT II

                   (Violation of Section 8(i) of the NVRA, 52 U.S.C. § 20507(i))

         62.     Plaintiff realleges all preceding paragraphs as if fully set forth herein.

         63.     Defendants have failed to fulfill Kentucky’s obligations under Section 8(i) of the

 NVRA to make available to Judicial Watch “all records” within the past two years “concerning

 the implementation of programs and activities conducted for the purpose of ensuring the

 accuracy and currency of official lists of eligible voters.”




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        64.      To the extent that Judicial Watch’s right to obtain access to voting records

 described by Section 8(i) of the NVRA is limited or foreclosed by KY. REV. STAT. ANN. §

 117.025, or by any other Kentucky statute, those Kentucky statutes are superseded and

 preempted by the provisions of Section 8(i) of the NVRA, and are invalid and unenforceable

 against Judicial Watch.

        65.      Plaintiff Judicial Watch and its members have suffered, and will continue to

 suffer, irreparable injury as a direct result of Defendants’ failure to fulfill Kentucky’s obligations

 to comply with Section 8(i) of the NVRA.

        66.      Plaintiff Judicial Watch and its members have no adequate remedy at law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for entry of a judgment:

        a.       Declaring Defendants to be in violation of Section 8(a)(4) of the NVRA;

        b.       Permanently enjoining Defendants from violating Section 8(a)(4) of the NVRA;

        c.       Ordering Defendants to develop and implement a general program that makes a

 reasonable effort to remove from Kentucky’s rolls the registrations of ineligible registrants;

        d.       Declaring that Section 8(i) of the NVRA supersedes and preempts any contrary

 Kentucky law;

        e.       Declaring that Defendants are in violation of Section 8(i) of the NVRA by

 refusing to allow Judicial Watch to inspect and copy the requested records;

        f.       Permanently enjoining Defendants from refusing to allow Judicial Watch to

 inspect and copy the records Judicial Watch requested;

        g.       Ordering Defendant to pay Judicial Watch’s reasonable attorney’s fees, including

 litigation expenses and costs; and



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           h.     Awarding Judicial Watch such other and further relief as this Court deems just

 and proper.

  Dated:        November 14, 2017                      Respectfully submitted,

                                                       /s/ Mark A. Wohlander
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